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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

MONTY M. SHELTON
REG. #10426-078                                                                        PLAINTIFF

v.                                    2:19-cv-00145-JM-JJV

UNITED STATES OF AMERICA; and
JERRY CISSEL, Officer, SIS Investigations                                          DEFENDANTS

                                             ORDER

       The Court has reviewed the Recommendation submitted by United States Magistrate Judge

Joe J. Volpe. No objections have been filed, and the time to do so has passed. After careful

review, this Court adopts the Recommendation in its entirety as its findings in all respects.

       IT IS THEREFORE ORDERED that:

       1.      Defendant Cissel’s Motion for Summary Judgment (Doc. 49) is GRANTED,

Plaintiff’s claim against Defendant Cissel is DISMISSED WITHOUT PREJUDICE, and this case

is CLOSED.

       2.      It is certified, pursuant to 28 U.S.C. ' 1915(a)(3), that an in forma pauperis appeal

from this Order and the accompanying Judgment would not be taken in good faith.

       3.      The Clerk’s Office reports that there is an overpayment of the filing fee of $42.70

in this case. The Clerk is directed to refund the money to Mr. Shelton’s prison account. Mr.

Shelton’s motion (Doc. 56) is GRANTED.

       Dated this 21st day of October 2020.


                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE
